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                  United States Court of Appeals
                              FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                        ____________
No. 25-5072                                                     September Term, 2024
                                                                            1:25-cv-00429-TSC
                                                            Filed On: July 11, 2025
In re: Elon Musk, in his official capacity, et al.,

               Petitioners


       BEFORE:        Millett, Pillard, and Katsas, Circuit Judges

                                           ORDER

      Upon consideration of the petition for writ of mandamus, the response thereto,
and the reply; respondents’ June 11, 2025 letter and petitioners’ response thereto; and
the motion to govern further proceedings, the response thereto, and the reply, it is

       ORDERED that this case be returned to the court’s active docket. It is

        FURTHER ORDERED that the stay entered on March 26, 2025, be lifted and the
mandamus petition be denied. The government petitions for a writ of mandamus
quashing the discovery order entered by the district court on March 12, 2025. This
court previously stayed the discovery order, but respondents have now asked the
district court to vacate that order, and the district court has stated that it would grant the
motion to vacate if this court lifts its stay. Petitioners have not shown that issuance of
the writ is appropriate under these circumstances. See Cheney v. U.S. Dist. Ct. for
D.C., 542 U.S. 367, 381 (2004). Nothing in this order forecloses a future mandamus
petition seeking relief from a future discovery order. See In re Flynn, 973 F.3d 74, 82
(D.C. Cir. 2020).

       Pursuant to D.C. Circuit Rule 36, this disposition will not be published.


                                          Per Curiam


                                                              FOR THE COURT:
                                                              Clifton B. Cislak, Clerk

                                                      BY:     /s/
                                                              Selena R. Gancasz
                                                              Deputy Clerk
